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                             EXHIBIT 1(b)
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                       ADDENDUM TO EMPLOYMENT AGREEMENT

        This addendum to your employment agreement dated December 22, 2008 (this
 "Addendum") by and between you and Varsity Spirit Corporation (the "Company") confinns the
 timing of certain terms of your employment agreement with the Company and modifies your
 employment agreement in light of Section 409A of the Internal Revenue Code of 1986, as
 amended and the mies, regulations and guidance issued thereunder ("Section 409A").

         1.      Section 9(b) of your employment agreement conditions payment or provision of
 certain benefits following the tem1ination of your employment without "Cause" (as defined in
 your employment agreement) (an "Involuntary Tennination") upon your execution of a
 Settlement Agreement and General Release and Waiver (the "Release"). Subject to the terms
 and conditions of your employment agreement and this Addendum:

               (a)      the Company shall not commence making severance or other payments or
 providing benefits following your Involuntary Termination, unless:

                         (i)     if you are 40 years of age or more at the time of such Involuntary
         Tennination, you execute the Release and deliver it to the Company on or before the 45 th
         day following such Involuntary Termination, and the Release becomes effective and
         irrevocable in its entirety on the seventh day following the date that you execute such
         Release; or

                      (ii)    if you are less than 40 years of age at the time of such Involuntary
 Termination, you execute the Release and deliver it to the Company on or before the 10 th day
 following such Involuntary Termination;

                 (b)      the first installment of any such payments or benefits shall be made on the
 first payroll period following the applicable deadline for execution or, if applicable, non-
 revocation of the Release; provided, however, that if such deadline for execution or, if
 applicable, non-revocation, of the Release falls in the calendar year following the calendar year
 in which your Involuntm-y Tennination occurs, payments shall commence on the first payroll
 period following later of (i) the first business day in the calendar year following the calendar year
 in which your Involuntary Temiination occurs and (ii) the date on which your Release becomes
 effective and irrevocable in its entirety.

                 (c)     the first installment of any such payments or benefits shall include all
 amounts that were not paid during the period between your Involuntary Tern1ination the date on
 which the Release became effective and irrevocable in its entirety; and all such payments and
 benefits shall be paid to you no later than the last day of the second calendar year following the
 calendar year in which occurs an Involuntary Termination; and

                 (d)     the Company shall deliver the Release to you within 10 days following
 your Involuntary Tennination; and if the Company fails to deliver such Release on or prior to the
 tenth day after the date of your Involuntary Termination, such failure shall constitute a waiver of
 your requirement to execute a Release.



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          2.      To the extent applicable, it is intended that the payments and benefits provided to
 you under your employment agreement (a) be exempt from Section 409A by reason of such
 payments qualifying as "short-term" deferral within the meaning of Treas. Reg. Sec. l.409A-
 1(b)(4), (b) not provide for a deferral of compensation due to the application of Treas. Reg. Sec.
 1.409A- l (b )(9)(iii) {separation pay due to involuntary separation from service), or ( c) be in full
 compliance with Section 409A. Your employment agreement shall be construed in a manner to
 give effect to such intention. Your right to receive any installment payments under your
 employment agreement shall be treated as a right to receive a series of separate and distinct
 payments. In no event whatsoever (including, but not limited to, as a result of this section or
 otherwise) shall the Company be liable for any tax, interest or penalties that may be imposed on
 you under Section 409A. Neither the Company nor any of its affiliates shall have any obligation
 to indemnify or otherwise hold you harmless from any and all such taxes, interest or penalties, or
 liability for any damages re]ated thereto. You acknowledge that you have been advised to obtain
 independent legal, tax or other related counsel in connection with Section 409A.

      3.      Except as otherwise provided herein, your employment agreement with the
 Company shall remain in full force and effect in accordance with its tenns.

        4.      This Addendun1 may be executed by one or more of the parties to this Addendun1
 on any number of separate co1mterparts (including counterparts delivered by telecopy), and all of
 said counterparts taken together shall be deemed to constitute one and the san1e instrument. Any
 such counterpart delivered by telecopy shall be effective as an original for all purposes.




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         Please indicate your acceptance of the terms and provisions of this Addendum on or
 before December 31, 2008 by signing two copies of this Agreement and reh1rning two signed
 copies to Robert Tisdale, 6745 Lenox Center Court, Ste. 300, Memphis, TN 38115 or email
 1tisdale<a1varsityspiritcom. Varsity will sign and return one signed copy to you for your files.
          w

 By signing below, you aclrnowledge and agree that you have carefully read this Agreement in its
 entirety, fully understand and      to its terms and provisions, and intend and agree that it be
 final and legally binding on you and the Company.


                                                                   Sincerely,

                                                                   Varsity Spirit Corporation


                                                                   By~J'ZU
                                                                   Na 1.JohnNichols
                                                                   Title: CFO/Senior V.P.


 Aclmowledged and agreed as of the date first above written:

 Employee's signature:   ~ l _{;, -i,--.___
              ~                                          I
 Employee Name, please print:        ,~ / ~ c:. l   . {,,,+,::;_




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